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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                             )
 J.G.G., et al.,                             )        Civil Action No. 1:25-cv-00766
                                             )
               Plaintiffs-Petitioners,       )
                                             )
 v.                                          )
                                             )
 DONALD J. TRUMP, in his official            )
 capacity as President of the United States, )
 et al.,                                     )
                                             )
               Defendants-Respondents.       )
                                             )



   OPPOSITION TO MOTION TO EXTEND TEMPORARY RESTRAINING ORDER

        Defendants oppose Plaintiffs’ motion to extend the temporary restraining order for an

additional fourteen days. ECF No. 64. As set forth in Defendants’ motion to vacate the temporary

restraining order, ECF No.26, the Court lacks jurisdiction over Plaintiffs’ claims, which challenge

matters within the President’s unreviewable authority and, nonetheless, sound in habeas and must

therefore be brought as habeas claims in district of confinement, id. at 7-13. Plaintiffs also failed

to show a likelihood of success on the merits, id. at 13-18, and have not demonstrated an irreparable

harm sufficient to overcome the President’s powerful interest in managing matters of national

security and foreign affairs, id. at 23-24 (citing Holder v. Humanitarian Law Project, 561 U.S. 1,

33–35 (2010)). For these reasons, which are set forth by Defendants’ prior briefs and incorporated

here, Defendants oppose any extension of the temporary restraining order.




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                             Respectfully Submitted,

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